                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

 CONNIE R. MITCHELL,

        Plaintiff,
                                                                     COMPLAINT
 v.
                                                             Civil Action No.: 5:21-cv-382
                                                                 Jury Trial Demanded
 ATI INDUSTRIAL AUTOMATION, INC.,

        Defendant.


       NOW COMES Plaintiff, Connie R. Mitchell, by and through undersigned counsel, and

complains against Defendant ATI Industrial Automation, Inc. as follows:

                       INTRODUCTION AND NATURE OF THE CASE

       Ms. Mitchell brings this action against Defendant ATI Industrial Automation, Inc.

(“Defendant” or the “Company”). Ms. Mitchell alleges herein discriminatory hiring practices on

the part of Defendant on the basis of race, sex and gender, in violation of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e et seq., and the Civil Rights Act of 1991, 42 U.S.C. § 1981.

Ms. Mitchell also brings this action against Defendant for violations of the Age Discrimination in

Employment Act (ADEA), 29 U.S.C. § 621 et seq. Finally, Ms. Mitchell alleges retaliation in

violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. Ms. Mitchell seeks

all available remedies including but not limited to, compensatory, punitive, and liquidated

damages, as well as available relief pursuant to 42 U.S.C. § 2000e-5(f)-(k), 42 U.S.C. § 1981a, 29

U.S.C. § 626(b) and as otherwise authorized pursuant to state and federal law.

                                 JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over this action pursuant to 2

U.S.C. § 1331, as the claims for relief asserted herein arises under federal law, and under 28 U.S.C.


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1343(a)(4), as the claims herein seek relief under acts of Congress providing for the protection of

civil rights.

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this District.

                                             PARTIES

        3.      Plaintiff Connie R. Mitchell (“Ms. Mitchell”) is a citizen and resident of Franklin

County, North Carolina. Ms. Mitchell, a 41-year-old, African American female, was employed by

Defendant from May 2019 through November 23, 2020. At all times relevant hereto, Ms. Mitchell

constituted an “employee” pursuant to all applicable statutes.

        4.      Defendant is a domestic corporation organized and existing under the laws of the

State of North Carolina with its principal office located at 1031 Goodworth Drive, Apex, NC

27539. At all times relevant hereto, Defendant continuously employed at least 20 employees.

        5.      At all relevant times, Defendant has continuously constituted an employer engaged

in an industry affecting commerce in accordance with sections 701(b), (g), and (h) of Title VII, 42

U.S.C. §§ 2000e(b), (g), and (h) and pursuant to the ADEA.

                     EXHAUSTION OF ADMINISTRATIVE REMEDIES

        6.      Ms. Mitchell filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (“EEOC”) on October 29, 2020, alleging discrimination on the basis of

age, race and sex.

        7.      On June 22, 2021, Ms. Mitchell requested a Right to Sue Letter. The EEOC issued

Ms. Mitchell’s Notice of Right to Sue on June 24, 2021.

        8.      Ms. Mitchell complied with all deadlines related to the investigation of her formal

administrative complaint.




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        9.      All conditions precedent to the institution of this lawsuit have been fulfilled.

                                   FACTUAL ALLEGATIONS

        10.     Defendant develops and manufactures robotic accessories and tools for distribution

to clients across the United States. In fact, Defendant holds itself out as the “world-leading

engineering-based developer of robotic accessories and robot arm tooling.”

        11.     Defendant hired Ms. Mitchell as a Mechanical Assembler at the Company’s Apex,

North Carolina facility in May 2019. As a Mechanical Assembler, Ms. Mitchell was responsible

for assembling various mechanical tooling components on an assembly line, assisting in

manufacturing tool changers, and testing and troubleshooting tooling devices once they were

assembled. In August 2020, Ms. Mitchell was the only female working on Defendant’s assembly

line.

        12.     On August 6, 2020, Heather Beal (“Beal”), Defendant’s Human Resources

Generalist, emailed a notice of job opening for a Calibration Technician in Defendant’s Calibration

Lab. Upon information and belief, the position was open only to internal applicants. Calibration

Technicians were responsible for assembling sensor systems and components and testing and

calibrating the assembled sensor systems. Required skills and abilities included but were not

limited to: (1) electro-mechanical skills, (2) hands-on experience with calibrating measurement

devices, (3) an ability to follow established procedures, (4) ability to lift 50-pound weights, (5)

computer skills, and (6) trouble-shooting skills. At the time of the posting, no females worked in

the Calibration Lab.

        13.     While working as a Mechanical Assembler, Ms. Mitchell acquired and honed each

of the requisite skills listed in the job posting. On a daily basis, Ms. Mitchell assembled tools,




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followed established Company protocols, tested the assembled product, and would trouble-shoot

any issues found during quality control testing.

       14.     Ms. Mitchell expressed her interest in the Calibration Technician position to Melvin

Wells (“Wells”), the Team Leader of the Calibration Lab. Wells indicated that he was unsure if

Ms. Mitchell had the physical ability to meet the position’s 50-pound lifting requirement. Wells

then asked Ms. Mitchell to lift weights totaling 50-pounds in the Calibration Lab. Ms. Mitchell

completed Wells’ “strength test” without issue. Upon information and belief, Wells, nor any other

employee, required male applicants to perform demonstrations of strength.

       15.     Within hours of reviewing the job posting (and passing Wells’ “strength test”), Ms.

Mitchell applied for Calibration Technician by hand-delivering her resume to Beal.

       16.     On August 19, 2020, Ms. Mitchell was interviewed for the Calibration Technician

position by Wells, Joe Feltenberger (“Feltenberger”), and Brad Horton. The interview was notably

informal and consisted primarily of Feltenberger, the Forced Torque Supervisor in the Company’s

Calibration Lab, explaining the various types of work Ms. Mitchell could expect if she was selected

for the position. During the interview, Feltenberger remarked that Ms. Mitchell had “extensive

experience in manufacturing” and asked Ms. Mitchell very few questions.

       17.     On August 27, 2020, Feltenberger notified Ms. Mitchell that he was still reviewing

applications for the Calibration Technician position, but he would advise her of the final decision

soon. As the Forced Torque Supervisor, Feltenberger would supervise the person hired for the

Calibration Technician position.

       18.     On August 31, 2020, Feltenberger informed Ms. Mitchell that Defendant had

decided to hire Mark Sinning (“Sinning”) for the Calibration Technician position. Though she was

not hired, Feltenberger offered to train Ms. Mitchell on the “skills necessary to perform the duties




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of a Calibration Technician,” without compensation. Feltenberger also acknowledged that he did

not know if or when another Calibration Technician position would be created.

       19.     Upon information and belief, Feltenberger expected Ms. Mitchell to clock out

during the middle of her shift—when she would have been otherwise compensated for her time—

to join him in the Calibration Lab for unpaid training. This proposal was highly unusual for the

Company and not in accordance with any policy or procedure. Feltenberger also told Ms. Mitchell

to “stay out of trouble” as the position (which did not exist) could be rescinded.

       20.     Sinning—a white male in his late twenties—lacked the qualifications,

proficiencies, and work experience of Ms. Mitchell. Prior to being hired for the Calibration

Technician position, Sinning worked as a Shipping Specialist in Defendant’s Shipping and

Receiving department. As a Shipping Specialist, Sinning was responsible for packing and shipping

assembled robotic parts and transferring inventory from the stockroom to fill orders. Prior to

working for Defendant, Sinning had pursued a career as a professional golfer.

       21.     Upon information and belief, at the time he was hired for the Calibration Technician

position, Sinning had no manufacturing experience, nor did he possess the requisite skills set forth

in the job posting.

       22.     On September 2, 2020, Ms. Mitchell emailed Beal regarding Defendant’s decision

not to hire her for the Calibration Technician position. Ms. Mitchell stated that she believed “pure

discrimination” had occurred during the hiring process and she that she had not been given a “fair

shot.” Ms. Mitchell also said that she believed Feltenberger’s offer to train her for a nonexistent

position was “a way to cover things up.” Beal responded and indicated that she would speak to

John Snead (“Snead”), Defendant’s Production Manager.




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       23.     On September 3, 2020, Snead approached Ms. Mitchell at her workstation and said

that it “stood out” to him that she believed she had been discriminated against. Snead told Ms.

Mitchell that Sinning was offered the position because his “interview skills were a bit better.”

       24.     A few days after her exchange with Snead on the assembly line, Ms. Mitchell

received an electronic invitation to attend a meeting with Feltenberger on September 10, 2020.

The agenda for the meeting was “[j]ust a general meet and discuss to get to know one another”

and to “share information on the transition.” Ms. Mitchell was surprised by the meeting request

because she had not participated in any such meetings previously, nor was aware of any coworkers

who were “invited” to attend such a meeting. Ms. Mitchell was very anxious about the meeting

and worried that it was an attempt to intimidate her or convince her to not proceed with any further

regarding her internal discrimination complaints.

       25.     On September 10, 2020, Feltenberger and Ms. Mitchell met for approximately

thirty (30) minutes, during which he informed her that that he wanted to meet every week because

he did not want Ms. Mitchell “to start thinking crazy things.”

       26.     On September 16, 2020, Ms. Mitchell received another electronic meeting

invitation. This time, Rob Eller (“Eller”), Ms. Mitchell’s direct supervisor, was also invited to the

meeting. Ms. Mitchell contacted Beal and expressed her concerns regarding these meetings. Ms.

Mitchell told Beal that she felt intimidated and was concerned about attending. Beal told Ms.

Mitchell she should decline the meeting request if she felt intimidated. Based on Beal’s advice,

Ms. Mitchell declined the meeting invitation. Ms. Mitchell also emailed Eller to inform him that

the weekly meetings made her feel uncomfortable because she was the only employee being asked

to meet alone with Company supervisors for the purpose of preventing her from “thinking crazy.”




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       27.     On September 17, 2020, Beal approached Ms. Mitchell while she was on the

assembly line and asked her to meet in a conference room. Beal began questioning Ms. Mitchell

why she felt she had been discriminated against. Ms. Mitchell told Beal that she believed

Defendant had a “habit of putting younger white males in the cal lab” and “promoting them first.”

       28.     During the meeting, Beal informed Ms. Mitchell that she had drafted an offer letter

for a new Calibration Technician position, but that Defendant had not been able to give it to her

because she had cancelled the September 16th meeting. Ms. Mitchell found this odd since

Feltenberger had previously stated that Defendant did not know if, let alone when, it may hire

another Calibration Technician.

       29.     Shortly after Defendant selected Sinning for the Calibration Technician position,

Ms. Mitchell received a call from the Company’s former HR Manager. The former HR manager

informed Ms. Mitchell that she had, as the then-acting HR Manager, instructed Defendant to hire

Ms. Mitchell for the position because she was the most qualified candidate. The former HR

manager also stated that she was not surprised Defendant selected Sinning because of Defendant’s

history of discriminatory hiring practices. Upon information and belief, Defendant routinely hires

younger, underqualified white male for positions rather than applicants of different ages, races,

and/or the opposite sex who are be better qualified for the applicable position.

       30.     As a result of Defendant’s discriminatory hiring practices and being forced to attend

meetings with supervisors and HR, wherein she felt intimidated, Ms. Mitchell began to experience

significant anxiety. On September 24, 2020, Ms. Mitchell sought counseling and therapeutic

services through Duke Health.




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          31.     As a further direct and proximate result of Defendant’s discriminatory and

intimidating conduct, Ms. Mitchell was placed on leave pursuant to the Family Medical Leave Act

(“FMLA”) from on or about September 24, 2020 through October 26, 2020.

          32.     Following the expiration of her FMLA leave period, Ms. Mitchell returned to work

and was turned away by Defendant because she did not have a release from care note. The next

day, Ms. Mitchell returned with requisite work note and returned to her position on the assembly

line.

          33.     On November 23, 2020, Ms. Mitchell sent a letter of resignation from her position

with Defendant on the advice of her healthcare professionals, effective November 27, 2020.

          34.     As is set forth herein, Defendant intentionally discriminated against Ms. Mitchell

because of her race, sex, and age in violation of Title VII, 42 U.S.C. §1981, ADEA and North

Carolina law.

          35.     As a direct and proximate result of Defendant’s unlawful discrimination, Ms.

Mitchell suffered and continues to suffer dagames. Defendant is liable to Ms. Mitchell for all

damages and remedies available to her under the law, including but not limited to, front pay, back

pay, compensatory damages, punitive damages, costs, and attorney’s fees.

                                    FIRST CLAIM FOR RELIEF
                           Racial Discrimination in Violation of Title VII
        of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. and the Civil Rights Act of
                                       1991, 42 U.S.C. § 1981

          36.     Plaintiff reiterates and realleges each and every paragraph above and incorporates

each hereto as if set forth fully herein.

          37.     As an African American, Ms. Mitchell is a member of a protected class, and thus,

satisfies the threshold requirement.




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       38.     On August 6, 2020, Ms. Mitchell applied for the Calibration Technician position

within a matter of hours after Beal provided notice of the open position.

       39.     Ms. Mitchell was more than qualified for the Calibration Technician position. Prior

to joining the Company, Ms. Mitchell had worked in various manufacturing jobs as a temporary

employee. Ms. Mitchell had worked as a Mechanical Assembler for Defendant for over a year

prior to applying for the Calibration Technician position. As a Mechanical Assembler, Ms.

Mitchell was responsible for assembling tools, testing the assembled product, and troubleshooting

issues discovered during the quality control testing.      Further, in her role as a Mechanical

Assembler, Ms. Mitchell had become very knowledgeable regarding the Company’s products, as

well as its policies and procedures. In fact, when Ms. Mitchell began working for Defendant she

was a temporary employee; however, prior to the expiration of her contract, Defendant hired her

as a full-time employee because the Company “could not afford to lose her.” Ms. Mitchell was

never disciplined, nor did she receive negative feedback regarding her work.

       40.     Similarly, if hired for the Calibration Technician position, Ms. Mitchell would have

been responsible for assembling systems and components and testing the assembled systems.

Additionally, the job posting indicated that candidates for the Calibration Technician Position must

possess, among others, troubleshooting skills. Admittedly, Defendant acknowledged Ms.

Mitchell’s “extensive manufacturing experience.” Ms. Mitchell met (and exceeded) the requisite

qualifications for the Calibration Technician position.

       41.     The circumstances under which Plaintiff was not hired for the Calibration

Technician raise more than an inference of racial discrimination. First, Defendant hired Sinning, a

white applicant with no prior manufacturing experience rather than Ms. Mitchell, a black applicant

with “extensive manufacturing experience.” Additionally, a former Company HR manager had,




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prior to her departure from the Company, instructed Defendant to hire Ms. Mitchell for the

Calibration Technician position because she was the most qualified candidate.

        42.     The only explanation Defendant provided Ms. Mitchell regarding its decision to

hire Sinning over her was because he performed a “bit better” in his interview. This explanation is

wholly pretextual. During her interview, Defendant’s supervisory employees did not ask Ms.

Mitchell any substantive questions, let alone provide her the opportunity to present her “interview

skills.” Instead, Feltenberger used the interview as an opportunity to describe the position’s

workload, of which Ms. Mitchell was well-aware.

        43.     Defendant treated Sinning, a member outside of Ms. Mitchell’s protected class of

race more favorably when it offered him the Calibration Technician position. Specifically,

Defendant hired a white applicant, even though Ms. Mitchell, a black applicant, possessed superior

knowledge of the Company’s products and its assembly, manufacturing, testing and trouble-

shooting procedures/protocols.

        44.     In hiring Sinning, Defendant engaged in unlawful employment practices in

violation of Title VII, 42 U.S.C. § 2000e-2 and 42 U.S.C. § 1981. Specifically, Defendant, through

its supervisory employees, discriminated against Ms. Mitchell by hiring a less qualified white

applicant for the Calibration Technician position to which she also had applied. Further, Defendant

attempted to cover up its unlawful conduct by offering to train Ms. Mitchell, without

compensation, for a “second” Calibration Technician position that may never have come to

fruition.

        45.     By hiring Sinning over Ms. Mitchell, lying to her, and attempting to hide the intent

behind its actions, Defendant, through its supervisory employees, acted intentionally, maliciously,




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and with reckless indifference to Ms. Mitchell’s federally protected right to be free from racial

discrimination.

       46.      Defendant’s conduct, by and through its supervisory employees, deprived Ms.

Mitchell of equal employment because of her race.

       47.      Based on its conduct as set forth herein, it was reasonably foreseeable to Defendant

that Ms. Mitchell would incur significant damages, including but not limited to lost wages, as a

result of the mental anguish and emotional harm Defendant caused as a direct and proximate result

of its unlawful hiring decision.

       48.      As a direct and proximate result of Defendant’s violations of Title VII and 42

U.S.C. § 1981 as described herein, Ms. Mitchell has suffered significant mental, emotional and

financial damages, including lost wages, lost benefits, emotional distress, and other non-pecuniary

damages.

       49.      As a result of Defendant’s acts and omissions as set forth herein, Defendant is liable

to Ms. Mitchell for all damages sustained due to Defendant’s unlawful hiring decision and is

entitled to all remedies available to her authorized by law including, but not limited to, front pay,

back pay, compensatory damages, punitive damages, costs, attorneys’ fees, etc.

                              SECOND CLAIM FOR RELIEF
                      Gender Discrimination in Violation of Title VII
 of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. and the Civil Rights Act of 1991,
                                      42 U.S.C. § 1981a

       50.      Ms. Mitchell reiterates and realleges each and every paragraph above as if set forth

fully herein.

       51.      As a female, Ms. Mitchell is a member of a protected class and thus satisfies the

threshold requirement.




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       52.     On August 6, 2020, Ms. Mitchell applied for the Calibration Technician position

within a matter of hours after Beal provided notice of the open position.

       53.     Ms. Mitchell was more than qualified for the Calibration Technician position. Prior

to joining the Company, Ms. Mitchell had worked in various manufacturing jobs as a temporary

employee. Ms. Mitchell had worked as a Mechanical Assembler for Defendant for over a year

prior to applying for the Calibration Technician position. As a Mechanical Assembler, Ms.

Mitchell was responsible for assembling tools, testing the assembled product, and troubleshooting

issues discovered during the quality control testing.      Further, in her role as a Mechanical

Assembler, Ms. Mitchell had become very knowledgeable regarding the Company’s products, as

well as its policies and procedures. In fact, when Ms. Mitchell began working for Defendant, she

was a temporary employee; however, prior to the expiration of her contract, Defendant hired her

as a full-time employee because the Company “could not afford to lose her.” Ms. Mitchell was

never disciplined, nor did she receive negative feedback regarding her work.

       54.     Similarly, if hired for the Calibration Technician position, Ms. Mitchell would have

been responsible for assembling systems and components and testing the assembled systems.

Additionally, the job posting indicated that candidates for the Calibration Technician Position must

possess, among others, troubleshooting skills. Admittedly, Defendant acknowledged Ms.

Mitchell’s “extensive manufacturing experience.” Ms. Mitchell met (and exceeded) the requisite

qualifications for the Calibration Technician position.

       55.     Ms. Mitchell was not hired for the Calibration Technician position under

circumstances that raise more than an inference of gender discrimination. First, when Ms. Mitchell

expressed interest in the position to Wells, the Calibration Lab’s Team Leader, he asked her to

prove she could meet the positions physical requirements by lifting 50 pounds in front of him.




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Upon information, Defendant did not require male applicants to a similar “strength test.”

Additionally, Defendant did not employ any females in the Calibration Lab.

          56.   Further, Defendant hired Sinning, a male applicant with no prior manufacturing

experience rather than Ms. Mitchell, a female applicant with “extensive manufacturing

experience.” Additionally, a former Company HR manager had, prior to her departure from the

Company, instructed Defendant to hire Ms. Mitchell for the Calibration Technician position

because she was the most qualified candidate. Based on the foregoing, it is clear that the only

reason Defendant chose not to hire the “most qualified candidate” is because that candidate was a

female.

          57.   The only explanation Defendant provided Ms. Mitchell regarding its decision to

hire Sinning over her was because he performed a “bit better” in his interview. This explanation is

wholly pretextual. During her interview, Defendant’s supervisory employees did not ask Ms.

Mitchell any substantive questions, let alone provide her the opportunity to present her “interview

skills.” Instead, Feltenberger used the interview as an opportunity to describe the position’s

workload, of which Ms. Mitchell was well-aware.

          58.   Defendant treated Sinning, a member outside of Ms. Mitchell’s protected class of

gender more favorably when it offered him the Calibration Technician position. Specifically,

Defendant hired a male applicant, even though Ms. Mitchell, a female applicant, possessed

superior knowledge of the Company’s products and its assembly, manufacturing, testing and

trouble-shooting procedures/protocols.

          59.   Additionally, at all times relevant to this Complaint, Defendant employed no

women in its Calibration Lab and, when Ms. Mitchell applied for the Calibration Technician




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position, Defendant’s supervisory employee required her to perform a physical display of strength

which male applicants were not required to perform.

        60.     In hiring Sinning, Defendant engaged in unlawful employment practices in

violation of Title VII, 42 U.S.C. § 2000e-2 and 42 U.S.C. § 1981. Specifically, Defendant, through

its supervisory employees, discriminated against Ms. Mitchell by hiring a less qualified male

applicant for the Calibration Technician position to which she also had applied. Further, Defendant

attempted to cover up its unlawful conduct by offering to train Ms. Mitchell, without

compensation, for a “second” Calibration Technician position that may never have come to

fruition.

        61.     By hiring Sinning over Ms. Mitchell, lying to her, and attempting to hide the intent

behind its actions, Defendant, through its supervisory employees, acted intentionally, maliciously,

and with reckless indifference to Ms. Mitchell’s federally protected right to be free from racial

discrimination.

        62.     Defendant’s conduct, by and through its supervisory employees, deprived Ms.

Mitchell of equal employment because of her gender.

        63.     Based on its conduct as set forth herein, it was reasonably foreseeable to Defendant

that Ms. Mitchell would incur significant damages, including but not limited to lost wages, as a

result of the mental anguish and emotional harm Defendant caused as a direct and proximate result

of its unlawful hiring decision.

        64.     As a direct and proximate result of Defendant’s violations of Title VII and 42

U.S.C. § 1981a as described herein, Ms. Mitchell has suffered significant mental, emotional and

financial damages, including lost wages, lost benefits, emotional distress, and other non-pecuniary

damages.




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       65.     As a result of Defendant’s acts and omissions as set forth herein, Defendant is liable

to Ms. Mitchell for all damages sustained due to Defendant’s unlawful hiring decision and is

entitled to all remedies available to her authorized by law including, but not limited to, front pay,

back pay, compensatory damages, punitive damages, costs, attorneys’ fees, etc.

                              THIRD CLAIM FOR RELIEF
             Age Discrimination in Violation of the ADEA, 29 U.S.C. § 621 et seq.

       66.     Ms. Mitchell reiterates and realleges each and every paragraph above and

incorporates each hereto as if set forth fully herein.

       67.     At all times relevant, Ms. Mitchell constituted an “employee” within the meaning

of the ADEA.

       68.     At all times relevant, Defendant constituted an “employer” within the meaning of

the ADEA.

       69.     At all times relevant to this Complaint, Ms. Mitchell was 41 years old, and therefore

met the threshold requirement of the ADEA

       70.     On August 6, 2020, Ms. Mitchell applied for the Calibration Technician position

within a matter of hours after Beal provided notice of the open position.

       71.     Ms. Mitchell was more than qualified for the Calibration Technician position. Prior

to joining the Company, Ms. Mitchell had worked in various manufacturing jobs as a temporary

employee. Ms. Mitchell had worked as a Mechanical Assembler for Defendant for over a year

prior to applying for the Calibration Technician position. As a Mechanical Assembler, Ms.

Mitchell was responsible for assembling tools, testing the assembled product, and troubleshooting

issues discovered during the quality control testing.       Further, in her role as a Mechanical

Assembler, Ms. Mitchell had become very knowledgeable regarding the Company’s products, as

well as its policies and procedures. In fact, when Ms. Mitchell began working for Defendant, she



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was a temporary employee; however, prior to the expiration of her contract, Defendant hired her

as a full-time employee because the Company “could not afford to lose her.” Ms. Mitchell was

never disciplined, nor did she receive negative feedback regarding her work.

       72.     Similarly, if hired for the Calibration Technician position, Ms. Mitchell would have

been responsible for assembling systems and components and testing the assembled systems.

Additionally, the job posting indicated that candidates for the Calibration Technician Position must

possess, among others, troubleshooting skills. Admittedly, Defendant acknowledged Ms.

Mitchell’s “extensive manufacturing experience.” Ms. Mitchell met (and exceeded) the requisite

qualifications for the Calibration Technician position.

       73.     Ms. Mitchell was not hired for the Calibration Technician position under

circumstances that raise an inference of age discrimination. First, Defendant hired Sinning, an

applicant in late twenties, with no prior manufacturing experience rather than Ms. Mitchell, a 41-

year-old applicant with “extensive manufacturing experience.” Additionally, a former Company

HR manager had, prior to her departure from the Company, instructed Defendant to hire Ms.

Mitchell for the Calibration Technician position because she was the most qualified candidate.

       74.     The only explanation Defendant provided Ms. Mitchell regarding its decision to

hire Sinning over her was because he performed a “bit better” in his interview. This explanation is

wholly pretextual. During her interview, Defendant’s supervisory employees did not ask Ms.

Mitchell any substantive questions, let alone provide her the opportunity to present her “interview

skills.” Instead, Feltenberger used the interview as an opportunity to describe the position’s

workload, of which Ms. Mitchell was well-aware.

       75.     Defendant treated Sinning, a member outside of Ms. Mitchell’s protected class of

age more favorably when it offered him the Calibration Technician position. Specifically,




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Defendant hired an applicant who was approximately ten (10) years younger than Ms. Mitchell

even though she possessed superior knowledge of the Company’s products and its assembly,

manufacturing, testing and trouble-shooting procedures/protocols.

       76.     In hiring Sinning, Defendant engaged in unlawful employment practices in

violation of 29 U.S.C. § 621 et. seq. Specifically, Defendant, through its supervisory employees,

discriminated against Ms. Mitchell by hiring a less qualified, younger applicant for the Calibration

Technician position to which she also had applied. Further, Defendant attempted to cover up its

unlawful conduct by offering to train Ms. Mitchell, without compensation, for a “second”

Calibration Technician position that may never have come to fruition.

       77.     By hiring Sinning over Ms. Mitchell, lying to her, and attempting to hide the intent

behind its actions, Defendant, through its supervisory employees, acted intentionally, maliciously,

and with reckless indifference to Ms. Mitchell’s federally protected right to be free from age

discrimination.

       78.     Defendant’s conduct, by and through its supervisory employees, deprived Ms.

Mitchell of equal employment because of her age.

       79.     Based on its conduct as set forth herein, it was reasonably foreseeable to Defendant

that Ms. Mitchell would incur significant damages, including but not limited to lost wages, as a

direct and proximate result of its unlawful hiring decision.

       80.     As a direct and proximate result of Defendant’s acts and omissions as set forth

herein, Defendant is liable to Ms. Mitchell for all damages sustained due to Defendant’s unlawful

and discriminatory hiring decision and is entitled to all remedies available to her authorized by law

including, but not limited to, front pay, back pay, costs, attorneys’ fees, etc.




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       81.      As a direct and proximate cause of Defendant’s violation of the ADEA as described

herein, Ms. Mitchell has suffered, and continues to suffer, economic damages, including, but not

limited to, loss of past and future income, compensation and benefits, for which Ms. Mitchell is

entitled to an award of damages, attorney’s fees, and costs.

       82.      Further, the foregoing constitutes a willful violation of the ADEA within the

meaning of 29 U.S.C. § 626(b) and, as a result, Ms. Mitchell is entitled to liquidated damages.

                                  FOURTH CLAIM FOR RELIEF
                                 Retaliation in Violation of Title VII
                       Of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

       83.      Ms. Mitchell reiterates and realleges each and every paragraph above as if set forth

fully herein.

       84.      On September 2, 2020, Ms. Mitchell complained about Defendant’s unlawful

conduct to Beal, Defendant’s HR Manager, via email. Ms. Mitchell stated that it was “pure

discrimination” that she was not hired for the Calibration Technician position and that she had not

been give a “fair shot.” Ms. Mitchell’s complaint to Beal constitutes protected activity under

federal law.

       85.      On September 3, 2020, just one (1) day after she first complained to Beal, Ms.

Mitchell was confronted by Snead, Defendant’s Production Manager, in front of her co-workers

while she worked on the assembly line to discuss her discrimination concerns. Snead stated that

“it stood out” to him that she thought she had been discriminated against.

       86.      A few days after her exchange with Snead, Ms. Mitchell was notified that a meeting

had been set between she and Feltenberger, a Calibration Lab Supervisor, to “get to know one

another.” On September 10, 2020, eight (8) days after she complained to Beal, Ms. Mitchell met

with Feltenberger. During the meeting, Feltenberger stated that the intended to meet with her once




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a week to ensure she did not “start thinking crazy things.” Ms. Mitchell was very intimated and

uncomfortable during the meeting.

        87.    On September 16, 2020, Ms. Mitchell received a notification that a meeting had

been set between she, Eller, and Snead. Ms. Mitchell confided in Beal that the meetings made her

uncomfortable and she felt the purpose of them was to intimidate her. Beal suggested she cancel

the meeting. Ms. Mitchell did so.

        88.    On September 17, 2020, Beal approached Ms. Mitchell in front of her co-workers

while she worked on the assembly line and told her that she needed to meet with her the conference

room. Beal then proceed to question her regarding her complaints of discrimination. Again, Ms.

Mitchell reiterated her complaints. Ms. Mitchell’s recitation of her complaints to Beal constitutes

a protected activity under federal law.

        89.    During the meeting, Beal told Ms. Mitchell that if she had not cancelled the

September 16th meeting, she would have been offered a Calibration Technician position. Beal

indicated she had drafted an offer letter regarding same, but Ms. Mitchell was never provided a

copy.

        90.    Defendant’s conduct, by and through its supervisory employees and human

resources personnel, adversely affected the terms and conditions of Ms. Mitchell’s employment.

Because she complained of discrimination, Ms. Mitchell was required to attend meetings with

Company supervisors to ensure that she did not “think crazy things.” Upon information and belief,

no other employees were required to attend similar-type meetings. The meetings were a new term

and/or condition of Ms. Mitchell’s employment which did exist prior to her complaints of

discrimination.




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       91.     Further, Defendant indicated that it decided not to offer her a Calibration

Technician position when she declined to attend the September 16th meeting, which she declined

upon the advice of Defendant’s human resources personnel.

       92.     Within one (1) week of her discrimination complaints, Defendant began to change

the terms and conditions of her employment. She was required to attended meeting with

Defendant’s supervisory employees and, when she declined to do so upon advice of Defendant’s

Human Resources Manager, Defendant decided to withdraw its offer to hire her as a Calibration

Technician. The temporal proximity between Ms. Mitchell’s complaints of discrimination and the

implementation of required meetings between Ms. Mitchell and Defendant’s supervisory

employees clearly demonstrates that the meetings initiated solely because she engaged in a

protected activity, as described herein. Additionally, Ms. Mitchell was told that the purpose of the

meetings were to ensure she did not “start thinking crazy things,” which likely included that she

had been discriminated against.

       93.     Defendant, by and through its supervisory employees, retaliate against Ms. Mitchell

by imposing new terms and condition on her employment solely because she complained about

discrimination in Defendant’s hiring practices.

       94.     As a direct and proximate result of Defendant’s retaliation as described herein, Ms.

Mitchell has suffered and continues to suffer damages, including emotional distress, pain and

suffering, mental anguish, loss of enjoyment of life, and other non-pecuniary damages.

       95.     As a direct and proximate result of Defendant’s retaliation as described herein, Ms.

Mitchell is entitled to recover all damages and remedies available under the law to her including,

but not limited to, front pay, back pay, compensatory damages, liquidated damages, costs, and

attorneys’ fees.




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                                         JURY DEMAND

       Ms. Mitchell demands a trial by jury of the claims asserted in this Complaint.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays the Court for judgment against Defendant to

the full extent permitted by 29 U.S.C. §794(a)(1), 42 U.S.C. § 2000e-5(f)-(k) and 42 U.S.C. §

1981a, 29 U.S.C. § 626(b) including but not limited to, the following:

       1.       Judgment in Ms. Mitchell’s favor, determining that Defendant’s actions and

conduct towards and relating to Ms. Mitchell violated Title VII of the Civil Rights Act of 1964,

the Civil Rights Act of 1991 and the ADEA.

       2.       Award Ms. Mitchell back pay of all monetary damages incurred, including but not

limited to back pay, front pay, interest, and benefits.

       3.       Award Ms. Mitchell damages for mental anguish, emotional distress, and other

non-pecuniary damages.

       4.       Award Ms. Mitchell punitive damages as a result of the intentional unlawful actions

and conduct of Defendant under the Civil Rights Act of 1964 and the Civil Rights Act of 1991.

       5.       Award Ms. Mitchell liquidated damages as a result of Defendant’s willful violation

of the ADEA in an amount to be determined at trial.

       6.       Award Ms. Mitchell the costs, disbursements, expenses, reasonable attorneys’ fees,

and expert witness fees incurred by her in filing and prosecuting this action pursuant to 42 U.S.C.

§ 1981a and as may be authorized by any other applicable federal laws;

       7.       For an award of pre- and post-judgment interest to Ms. Mitchell on all damages;

and

       8.       For all other, further relief as this Court deems just and appropriate.




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This the 22nd day of September, 2021.



                                        Respectfully submitted,

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